Case 1-29-450824-€SS VDOC Filed iusluies Entered LU/LU/25 LU SUTL/

BR ctiiemsce elgkol te tite amet cin

United States Bankruptcy Court for the:

Castern _ pistictor N u
Giata)

) Chapter TL

Case number cit}

~ 1) C) Check if this is an
amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/22

if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (If known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name 2) shyro « O Lt n C .

2. All other names debtor used
in the last 8 years

Include any assumed names,
trade names, and doing business
as names

3. Debtor's federal Employer Oe _QO S Ss Os& &

Identification Number (EIN)

4 Debtor’s address Principal place of business Mailing address, if different from principal place
of business
2612 Clavendon Rel.
Number Street Number Streat
| P.O, Box
rool un NY {202
cr | State ZIP Code City State ZIP Code

’ Location of principal assets, if different from
principal place of business
vw

oD
a

County

Number Street

City State ZIP Code

8. Debtor's website (URL)

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 1
Case 1-25-45002-€SS DOCLl Filed iO/10/25 Entered LU/LO/Z5 LOTDUTL Ss

Debtor Bistro | 6oY N C ° Case number (noun)

Hame

Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)
C) Partnership (excluding LLP)
(3 Other. Specify:

6. Type of debtor

A. Gheck one:

( Health Care Business (as defined in 11 U.S.C. § 101(27A)}
CQ) Single Asset Real Estate (as. defined in 11 U.S.C. § 101(51B))
() Railroad (as defined in 11 U.S.C. § 101(44))
CO Stockbroker (as defined in 11 U.S.C. § 101(53A))
QO Commodity Broker (as defined in 11 U.S.C. § 101(6))
C) Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

7, Describe debtor's business

B. Check all that apply:

C) Tax-exempt entity (as described in 26 U.S.C. § 501)

Cl investment company, including. hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
Aitpo/wew.uscourts govifour-dicil-nalional-association-naies-codes .

TILES

8. Under which chapter of the Check one:
Bankruptcy Gode is the
debtor filing? Q) Chapter 7
CQ Chapier 9
Chapter 11. Check ail that apply:

() Debtor's aggregate nonconiingent liquidated debts (excluding debts owed fo
insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
4/01/25 and every 3 yéars after that).

(1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), If the
debtor is a smail business debtor, attach the most recent balance sheet, statement
of operations, cash-flow statement, and federal income tax return or if all of these
documents do not exist, follow fhe procedure in 11 US.C. § 1116(1){B).

C] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
chooses to proceed under Subchapter V of Chapter 11.

C} A plan is being filed with this petition.

C] Acceptances of the plan were solicited prepelition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

(J The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment fo Voluntary Pelition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form,

C] The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C] Chapter 12

9. Were prior bankruptcy cases {) No

filed b inst the debt
filed by or against the debtor a ie Eastern NY wen O1- 04-Drase nie 2A- YOO S3- ESS

MM / DDIYYYY

if more than 2 cases, altach a

separate list. District When Case number

MM/ DDI YYYY

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 2
Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

Debtor Bistro \ SOU \ Mic: Case number grinown)

40. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list.

41. Why is the case filed in this
district?

12. Does the debtor own or have
possession of any real
property or personal property
that needs immediate
attention?

ErKio

C) Yes. Debtor Relationship

District When

MM / DD /YYYY

Case number, if known

Check all that apply:
Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
immediately preceding the date of this petition or for a longer part of such 180 days than in any other
district.

QA bankruptcy case conceming debtor’s affiliate, general partner, or partnership is pending inthis district.

EINo

Qi Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
Why does the proporty need immediate attention? (Check all that apply.)

(C) it poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C) itneeds to be physically secured ar pratected from the weather.

CQ it includes perishable goods or assets that could quickly deteriorate or tose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
assets or other options).

C2) other

Whore is the property?.

Number Street

City State ZIP Code

Is the property insured?
OQ) No

CQ Yes. Insurance agency

Contact name

Phone

fo Statistical and administrative information

13. Debtor’s estimation of
available funds

44. Estimated number of
creditors

Official Form 204

oe, one:
Funds will be available for distribution to unsecured creditors.
() After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

e149 © 4,000-5,000 C) 25,001-50,0c0

C) 50-99 (} 5,001-10,000 C) 50,001-100,000
CQ) 100-199 ( 10,001-25,000 C] More than 100,000
C) 200-999

Voluntary Petition for Non-Individuals Filing for Bankruptcy page 3

Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

Debtor Wise \eoU lnc Case number ¢tinewn)

$0-$50,0 000 Q $1,000,001-$10 miltion (2 $800,000,001-$1 billion

16. Estimated assets (2 $50,001-$100,000 (2 $10,000,001-$50 million Q $1,000,000,001-$10 billion
Q $100,001-$500,000 C2 $50,000,001-$100 mitiion C2 $10,000,000,001-$50 billion
C} $500,001-$1 million CJ $400,000,001-$500 million C} More than $50 billion

oo C) $0-$50,000 Q) $1,000,001-$10 million C] $500,000,001-$1 billion

16. Estimated liabilities Q $50,001-$100,000 CQ) $10,000,001-$50 million (2 $1,000,000,001-$10 bittion
£¥S100,001-$500,000 C2) $50,000,001-$100 million Q $10,000,000,001-$80 billion
(2) $500,001-$1 million C) $100,000,001-$500 million Cl More than $50 billion

a Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

7, Declaration and signature of The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
authorized representative of titi
debtor petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and
correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on 1 2 ‘
MM Bb TYYYY
x Sao WM ilety qQ SV
Signature of if authorizedlrepresentative of debtor Prin ame J
rite Owner
18, Signature of attorney x Date
Signature of attorney for debtor MM /0D /YYYY
Printed name
Firm name
Number Street
Gity State ZIP Code
Contact phone Email address
Bar number State

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4

Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

AMIE TCM IL Ce ya tare cel emo 8 (LEE
Debtor name | Bistro 1804 Inc.
United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW O1 Check if this is an

YORK
Case number (if known): amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and

Are Not Insiders 42/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and: | Name, telephone number Nature of claim | ‘Indicate if claim | Amount of claim~

complete mailing address, | and email address of | (forexample, trade’ |_ is contingent, | if the claim is fully unsecured, fill in only unsecured claim amount. If

including zip code creditor contact ~~. | debts, bank loans, _|_ unliquidated, or. | claim is partially secured, fill in total claim amount and deduction for
: : : : : _ «| professional services, .|__ disputed _tNalue of collateral or-setoff.to calculate unsecured claim.”

jand government 2s | Total claim, if Deduction for value | Unsecured claim

: : os ol |p contracts) ee “a. | partially secured of collateral or setoff

Consolidated goods and $1,000.00

Edison services

Company of N.Y.

Inc.

JAF Station

P.O. Box 1702

New York, NY

10116-1702

Mark Weiss landlord $150,000.00

80-02 Kew Gardens

Suite 302

Kew Gardens, NY

11415

National Grid goods & services $1,000.00

PO Box 11741

Newark, NJ

07101-9839

New York State sales tax $25,000.00

Department

of Taxation &

Finance

OPTS Liability

Corres Sec

WA Harriman

Campus

Albany, NY 12227

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1
Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

a Mme Lelie Cele CLUS MLL omer on

Debtorname Bistro 1804 Inc.

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

Official Form 206Sum

(1 Check if this is an
amended filing

Summary of Assets and Liabilities for Non-Individuals 12/15
Summary of Assets
1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
1a. Real property:
Copy line 88 from Schedule A/Boescccccssesccesscsssssssseesssssessonssvesessnesesavesesessecseesieessssseinessesesssssessasasenecsestepsesaneneceseneenee $ 0.00
1b. Total personal property:
Copy line 91A from Schedule A/B........ ees reaeeateeceacenenecerseeceenenateresteassnneneransearmntsecsssecciersessenessurcasenrsssenstsuensaaseeeeees $ 20,000.00
ic. Total of all property:
Copy line 92 from Schedule A/B........ccscccsccceceresescersccecenstnactensevseeseeeneeseveennenneniveedieeneseeyiieviscueennnnasnennennegentreviase $ 20,000.00
Summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D) 0.00
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule Du. cececsceteerncerrteeres $ :
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/F 0... ccc ccceseesereeereeseeetneetseeceneeatseeesneaenasensenes $ 25,000.00
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F io... ce eeciesecetcneesectensseercsenees +$ 152,000.00
4, Total Wabilities oe esse cnecaeseceececsesseseneecaueecnecescsbaesansesaeceescscesasnecceesseneeegesceqeeesesssaevepenesarasacseresnenaesaeeasee tas
Lines 2+ 3a+ 3b $ 177,000.00
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

MUR EMEC UClem come Ct Nm Umer tote

Debtorname Bistro 1804 Inc.

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

OO Check if this is an
amended filing

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in.a particular category. List each asset only once. In valuing the
debtor's interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents

4. Does the debtor have any cash or cash equivalents?

[J No. Go to Part 2.

Ml Yes Fill in the information below.

All cash or cash equivalents owned-or controlled by the: debtor Current value of
debtor's interest

3. Checking, savings, money market, or financial brokerage accounts (/dentify all)
Name of institution (bank or brokerage firm) Type of account Last 4 digits of account
number
3.1. TD Bank checking $0.00
4, Other cash equivalents (/dentify all)
5. Total of Part 1. $0.00

Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

HE No. Go to Part 3.
0 Yes Fill in the information below.

Accounts receivable
10. Does the debtor have any accounts receivable?

WE No. Go to Part 4.
CO Yes Fill in the information below.

Investments
13. Does the debtor own any investments?

ME No. Go to Part 5.
C1 Yes Fill in the information below.
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1
Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

Debtor Bistro 1804 Inc. Case number (If known)
Name
Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?

ME No. Go to Part 6.
DO Yes Fill in the information below.

Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

HI No. Go to Part 7.
0 Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

[) No. Go to Part 8.
B Yes Fill in the information below.
General description Net. book value of Valuation method used Current value of
debtor's interest for current value debtor's interest
(Where. available)
39. Office furniture

40. Office fixtures

41. Office equipment, including all computer equipment and

communication systems equipment and software

cash register $0.00 $0.00
42. Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;

books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
collections; other collections, memorabilia, or collectibles

43. Total of Part 7. $0.00
Add lines 39 through 42. Copy the total to line 86.

44, Is a depreciation schedule available for any of the property listed in Part 7?
HNo
Ci Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
ENo
Yes

Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

HE No. Go to Part 9.
C1 Yes Fill in the information below.

Real property
54. Does the debtor own or lease any real property?

HI No. Go to Part 10.
C1 Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

Debtor Bistro 1804 Inc. Case number (if known)

Name

eather Intangibles and intellectual property

59.

Does the debtor have any interests in intangibles or intellectual property?

HI No. Go to Part 11.
C1 Yes Fill in the information below.

cles es All other assets

70.

Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

OI No. Go to Part 12.
Hi Yes Fill in the information below.

Current value of
debtor's interest

71. Notes receivable
Description (include name of obligor)
72, Tax refunds and unused net operating losses (NOLs)
Description (for example, federal, state, local)
73. Interests in insurance policies or annuities
74. Causes of action against third parties (whether or not a lawsuit
has been filed)
75. Other contingent and unliquidated claims or causes of action of
every nature, including counterclaims of the debtor and rights to
set off claims
76. Trusts, equitable or future interests in property
77, Other property of any kind not already listed Examples: Season tickets,
country club membership
liquor; raw food items; bar stools; chairs; tables;
refrigerator; freezer; deep fryer. $20,000.00
78. Total of Part 11. $20,000.00
Add lines 71 through 77. Copy the total to line 90.
79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
HNo
Cl Yes
Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

Debtor Bistro 1804 Inc.

Name

eels es Summary

92.

Official Form 206A/B

. Total. Add lines 80 through 90 for each column

Case number (if known)

of the totals
en

Cash, cash equivalents, and financial assets.
Copy line. 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4.

Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy line 56, Part 9.0.....cccccccseccceccesececestenensnnsensneseeaeenees

Intangibles and intellectual property. Copy line 66, Part 10.

. All other assets. Copy line 78, Part 17.

$0.00

$20,000.00

$0.00

$20,000.00

+ 91b.

$0.00

Total of all property on Schedule A/B. Add lines 91a+91b=92

Schedule A/B Assets - Real and Personal Property

$20,000.00

page 4
Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

TM MUM ieee OM eC m Ur omer tein

Debtorname Bistro 1804 Inc.

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

1 Check if this is an
amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/45

Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

Hf No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
0 Yes. Fill in all of the information below.

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1

Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

TIMBER Cm om Na UR ion

Debtorname Bistro 1804 Inc.

United States Bankruptcy Court for the. EASTERN DISTRICT OF NEW YORK

Case number (if known)

1 Check if this is an
amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims. and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1.and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Gene List All Creditors with PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

0 No. Go to Part 2.

Wl ves. Go to line 2.

2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
with priority unsecured claims, fill out and attach the Additional Page of Part 1.

Priority creditor's name and mailing address
New York State Department
of Taxation & Finance
OPTS Liability Corres Sec
WA Harriman Campus
Albany, NY 12227

Date or dates debt was incurred

Total claim Priority amount

As of the petition filing date, the claim is: $25,000.00 $25,000.00
Check all that apply.

oO Contingent

C3 unliquidated

CO Disputed

Basis for the claim:
sales tax

Last 4 digits of account number

Specify Code subsection of PRIORITY
unsecured claim: 11 U.S.C. § 507(a) (8)

Is the claim subject to offset?
Bho
D1 ves

GERES@ List All Creditors with NONPRIORITY Unsecured Claims

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.

Amount of claim

Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $1,000.00
Consolidated Edison
Company of N.Y. Inc. CI contingent
a Bete oO Unliquidated
J. BOX Ooi
Disputed
New York, NY 10116-1702 P 5
i im: rv
Date(s) debt was incurred _ Basis for the claim: _qoods and services
Last 4 digits of account number Is the claim subject to offset? a No C1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $150,000.00
Mark Weiss O Contingent
ae now Gardens 1 untiquidated
ulte oO .
Disputed
Kew Gardens, NY 11415 P
i im: r
Date(s) debt was incurred _ Basis for the claim: landlord
Last 4 digits of account number is the claim subject to offset? Mno Oves
Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 2

33345

Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

Debtor Bistro 1804 Inc.

Case number (if known)

Name
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $0.00
Mark Weiss C Contingent
c! 0 Bay Reeoeoe 0 Untiquidated
“U. BOX O bisputed
Brooklyn, NY 11235 P
. Basis for the claim: FOR NOTICE PURPOSES ONLY
Date(s) debt was incurred _
Last 4 digits of account number Is the claim subject to offset? Ml No 01 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check aif that apply. $1,000.00
National Grid C1 Contingent
PO Box 11741 C] unliquidated
Newark, NJ 07101-9839 C1 Disputed
Date(s) debt was incurred _ Basis for the claim: goods & services
Last 4 digits of account number _
is the claim subject to offset? MI No C1 Yes
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply. $0.00

Steven D. Chase, Esq.

Law Office Kramer Shapiro
80-02 Kew Gardens Road
Suite 302

Kew Gardens, NY 11415

Date(s) debt was incurred _

Last 4 digits of account number _

oO Contingent
D unliquidated
Oo Disputed

Basis for the clam: counsel for landlord Mark Weiss

!s the claim subject to offset? Hino Oves

List Others to Be Notified About Unsecured Claims

4, List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

if no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. if additional pages are needed, copy the next page.

Name and mailing address

On which line in Part1 or Part 2 is the Last 4 digits of

related creditor (if-any) listed?

Total Amounts of the Priority and Nonpriority Unsecured Claims

account number, if
any

5. Add the amounts of priority and nonpriority unsecured claims.

5a. Total claims from Part.1
5b. Total claims from Part 2

5c. Total of Parts 1 and 2
Lines 5a + 5b = 5c.

Official Form 206 E/F

Total of claim amounts

Sa. 25,000.00
5b, + § 452,000.00
5. «(| $ 177,000.00

Schedule E/F: Creditors Who Have Unsecured Claims

Page 2 of 2

Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

MUM IEM eu esm nents meer Cio :

Debtorname Bistro 1804 Inc.

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known)

(1 Check if this is an
amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
Wi No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

C1 Yes, Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State-the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.2 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.3 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

2.4 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1

Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

PT MMUEM Ulli e en (CHIC Mm LER race

Debtorname Bistro 1804 Inc.

Case number (if known)

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NEW YORK

Official Form 206H

Schedule H: Your Codebtors

OO Check if this is an

amended filing

42/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the

Additional Page to this page.

1. Do you have any codebtors?

Mf No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.

Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

Column 1; Codebtor

Column 2: Creditor

Name Mailing Address Name Check all schedules
that apply:
2.1 Op
Street CO E/F
OG
City State Zip Code
2.2 Oop
Street 0 E/F
OG
City State Zip Code
2.3 Cp
Street C] E/F
OG
City State Zip Code
2.4 Ob
Street 0 E/F
OG
City State Zip Code
Schedule H: Your Codebtors Page 1 of 1

Official Form 206H

Case 1-25-45002-€SS DOCL Filed ilO0/10/25 Entered LU/LO/Z5 LOTDUTLS

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